          Case 4:20-cv-03154-HSG Document 88 Filed 08/13/20 Page 1 of 1



 1                              IN THE UNITED STATES DISTRICT COURT

 2                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

 3
     LAURA LOOMER                                              Case No.: 4:20-cv-3154
 4
                           Plaintiff,
 5   v.
                                                             NOTICE OF VOLUNTARY DISMISSAL
 6   FACEBOOK, INC..
 7                          Defendant.
 8
 9               I, Laura Loomer hereby dismiss voluntarily dismiss this cause pursuant to FRCP 41(a)
10
     with prejudice as I do not believe that I would be accorded due process and an unbiased
11
     adjudication by the Court. Defendant consented to this voluntary dismissal with prejudice.
12
     DATED: August 13, 2020                                   Respectfully submitted,
13

14                                                            /s Laura Loomer____________
15                                                            Laura Loomer1
                                                              Plaintiff Pro Se
16
                                                              Larry Klayman
17                                                            7050 W. Palmetto Park Rd
                                                              Boca Raton, FL 33433
18

19                                                            Of Counsel

20
                                         CERTIFICATE OF SERVICE
21
                 I HEREBY CERTIFY that on this 13th day of August 2020, a true copy of the foregoing
22

23   was electronically transmitted by the Court’s ECF system to all counsel and parties of record.

24
                                                      _
25                                                    __/s/ Laura Loomer________
                                                      Laura Loomer
26

27

28         1   Palm Beach, FL. Street address not given for security purposes

29

30                                                       1
